Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1416 Page 1 of 6
Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1417 Page 2 of 6
Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1418 Page 3 of 6
Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1419 Page 4 of 6
Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1420 Page 5 of 6
Case 2:08-cr-02090-RHW   ECF No. 366   filed 12/22/09   PageID.1421 Page 6 of 6
